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17   FUJIAN JINHUA INTEGRATED CIRCUIT CO., LTD.
18                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
19                                   SAN FRANCISCO DIVISION
20   UNITED STATES OF AMERICA,                 Case No. 18-CR-465 MMC
21                 Plaintiff,                  FUJIAN JINHUA INTEGRATED CIRCUIT
                                               CO., LTD.’S NOTICE OF MOTION AND
22          v.                                 MOTION IN LIMINE NO. 4 TO EXCLUDE
                                               THE FORENSIC IMAGES OF CERTAIN
23   FUJIAN JINHUA INTEGRATED CIRCUIT          ELECTRONIC DEVICES;
     CO., LTD., et al.,                        MEMORANDUM OF POINTS AND
24                                             AUTHORITIES; DECLARATION OF
                   Defendant.                  MATTHEW E. SLOAN; [PROPOSED
25                                             ORDER]
26                                             Judge: The Honorable Maxine M. Chesney
                                               Trial Date: February 14, 2022
27                                             Hearing Date: January 18, 2022
                                               Hearing Time: 10:00 a.m.
28


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 1                              NOTICE OF MOTION AND MOTION
 2 TO THE CLERK OF THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3         PLEASE TAKE NOTICE that on January 18, 2022 at 10:00 a.m., or as soon thereafter as the
 4 matter may be heard at a time set by The Honorable Maxine M. Chesney in Courtroom 7 of the

 5 United States District Court for the Northern District of California, located at 450 Golden Gate

 6 Avenue, San Francisco, California, defendant Fujian Jinhua Integrated Circuit Co., Ltd. (“Jinhua”),

 7 will move the Court to exclude the forensic images of certain electronic devices seized by the Taiwan

 8 authorities in February, 2017 and produced to Jinhua in discovery, on the grounds that the electronic

 9 data on these devices was accessed and modified before being forensically imaged, thus corrupting

10 the integrity of the data (“Motion”). This Motion is based upon the Notice of Motion and Motion,

11 Memorandum of Points and Authorities, the Declaration of Matthew E. Sloan (“Sloan Decl.”) and

12 exhibits thereto, the pleadings and papers on file in this action, and such further arguments and

13 matters as may be presented at the time of the hearing on this Motion.

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                                        v
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 1                                        ISSUES TO BE DECIDED
 2          Defendant Jinhua seeks an Order from the Court excluding the forensic image of certain
 3 electronic devices that were seized by the Taiwan authorities in raids on United Microelectronics

 4 Corporation (“UMC”) in February 2017 on the grounds that they were accessed and modified before

 5 being forensically imaged.

 6                                 ARGUMENT AND AUTHORITIES
 7 I.       INTRODUCTION
 8          Fujian Jinhua Integrated Circuit Co., Ltd. (“Jinhua”) respectfully submits this Memorandum
 9 of Law in support of its motion in limine to exclude certain electronic information from being

10 admitted into evidence. Specifically, Jinhua seeks to exclude the forensic image of certain electronic

11 devices that were seized by the Taiwan authorities in raids on United Microelectronics Corporation

12 (“UMC”) in February 2017 on the grounds that they were accessed and modified before being

13 forensically imaged. Given the extent to which the seized devices were altered, any forensic image

14 captured following such alteration cannot accurately represent the data stored on these devices at the

15 time of their seizure, and the government will not be able to satisfy its burden of authentication under

16 Rule 901 of the Federal Rules of Evidence. Allowing the government to introduce these forensic

17 images into evidence would unfairly prejudice Jinhua, which would be forced to challenge the

18 existence of alleged trade secret information based on spoliated evidence. Accordingly, the Court

19 should exclude the forensic image.

20          The government should not be allowed to build its case on the basis of data collected from
21 electronic devices that have been subject to significant post-seizure tampering and manipulation, and

22 certainly not to show that these devices contain misappropriated trade secret information at the time

23 they were seized. In short, the government’s entire case hinges upon the contents of the devices that

24 it carelessly handled and spoliated.

25          After seizing 26 devices that the Taiwanese authorities suspected of containing
26 misappropriated trade secret information, the prosecutors and investigators did not make any effort

27 to preserve the status quo of the seized digital media. Rather, they not only accessed and reviewed

28 the existing files on the devices, but also created and downloaded additional files while also deleting


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 1 certain files. To make matters worse, the Taiwanese authorities invited an employee of Micron

 2 Memory Taiwan Co., Ltd. (“MMT”), the company that filed the initial criminal complaint in Taiwan

 3 and stood to benefit from charges being brought against UMC and Jinhua, to review the seized

 4 devices before they were forensically imaged.

 5             The Taiwanese authorities’ disregard for the integrity of the evidence and deviation from
 6 established best practices in handling the digital forensic investigation process have destroyed any

 7 chance of establishing the authenticity of the data stored in the devices. Thousands of files were

 8 created, altered, or deleted post-seizure, substantially changing the condition of the devices. As such,

 9 the devices can no longer be authenticated and should be excluded from the evidence to be presented

10 at trial.

11 II.         STATEMENT OF FACTS
12             A.     Taiwan Investigation and Indictment
13             Acting on a criminal complaint from MMT and its parent, Micron Technology, Inc.
14 (“Micron”) in September 2016, the Taiwan Ministry of Justice Investigation Bureau (“MJIB”), New

15 Taipei Branch, led by prosecutors of the Taiwan Taichung District Prosecutors Office, searched

16 UMC’s facilities and seized a total of 26 electronic devices from UMC employees between February

17 7 and 14, 2017. Sloan Decl., Ex. A (Indictment Decision of Taiwan Taichung District Prosecutors

18 Office (“Taiwan Indictment”)) at 7, 17.

19             The devices were eventually delivered to the MJIB Forensics Laboratory (the “MJIB Lab”)
20 for forensic examination. Sloan Decl., Ex. B (a brief description provided by Lewei Chen (“Chen

21 Description”)) at 1. However, instead of following the standard practice of creating a forensic mirror

22 image of the digital media immediately following seizure so as to preserve their contents, the

23 Taiwanese authorities contaminated and altered data and metadata present on the storage media in

24 the seized devices by performing searches and otherwise accessing almost half of the seized devices.

25             Specifically, as demonstrated by the expert report of Jinhua’s forensic evidence expert, John
26 Ashley, the Managing Director of Consilio’s Digital Forensics and Expert Services Department,1 the

27
     1
28      As Mr. Ashely’s curriculum vitae establishes, Mr. Ashely is a leading expert in the forensic
     examination field with over thirty years of experience. See Ex. G (Ashley Report), Ex. 1 (Curriculum

                                                         2
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 1 Taiwanese authorities accessed and searched the various laptops, USB devices and hard drives seized

 2 from UMC employees on multiple occasions before creating forensic images of the devices. As a

 3 result, the data stored on the following 10 devices (the “corrupted devices”) was altered or deleted

 4 after the devices were seized but before they were imaged:

 5                 1.     Device 106030-25-03 (BRG003)2 Intel 240GB UMC Laptop drive: Laptop
                          106030-25-03, which the Taiwan authorities identified as a laptop used by
 6                        defendant Kenny Wang, Sloan Decl., Ex. C (Explanation Regarding
                          Evidence Transfer of Taichung District Prosecutors’ Office of Taiwan on
 7                        March 16, 2020 A.D. (“Evidence Transfer Explanation”)) at 4. This laptop
                          was seized on February 7, 2017 by the MJIB and was accessed multiple
 8                        times on February 7, 8, 13, and 17, 2017 before being forensically imaged
                          on February 20, 2017. Almost 35,000 files were added to the drive in this
 9                        laptop and more than 1,000 files were deleted. Of the files and folders
                          added, 32,688 were copied from the UMC server \\p58f21\Data\NBD on
10                        2/7/2017. Multiple USB devices have also been attached to the laptop on
                          that date. The MJIB activity added 13.38 Gigabytes of data to the drive.
11                        Moreover, Yi-Leng Chen, an MMT employee, accessed the laptop and
                          performed a review on February 13, 2017 from 11:25 until 19:25. Sloan
12                        Decl., Ex. G (Expert Witness Disclosure of John F. Ashley (“Ashley
                          Report”)) at 10.
13
                   2.     106030-25-04 (BRG004) SanDisk Cruzer Edge 8GB USB disk: USB disk
14                        106030-25-04, seized on February 7, 2017, was accessed on February 17,
                          2017 before being forensically imaged on February 20, 2017. 93 files and 5
15                        folders were created on the USB drive on February 17, 2017. Id. at 11.
16                 3.     106030-25-06 (BRG006) Rundisk 1GB USB drive: USB disk 106030-25-
                          06, which was seized on February 7, 2017, was accessed on February 13,
17                        2017 before being forensically imaged on February 20, 2017. Id. at 12.
                          MMT employee Yi-Leng Chen accessed the USB device on February 13,
18                        2017 from 11:25 to 19:25 and reviewed files and folders on the device. Id.
19                 4.     106030-25-09 (BRG009) Western Digital 250GB drive from Acer Laptop:
                          Laptop 106030-25-09, seized on February 7, 2017, was accessed on
20                        February 7 and 13, 2017 before being forensically imaged on February 20,
                          2017. Id. at 13-14. Five separate USB devices were inserted into this laptop
21                        when it was accessed on February 7 after seizure. Id. More than 4,500 files
                          and folders had their metadata details altered with a number of files being
22                        added to or deleted from the laptop. Id. at 14. MMT employee Yi-Leng
                          Chen accessed the laptop on February 13, 2017 from 11:25 to 19:25 and
23                        reviewed files and folders on the device. Id.
24                 5.     106030-25-11 (BRG011) Transcend 1TB USB drive: USB disk 106030-25-
                          11, seized on February 8, 2017, was accessed on February 13, 2017 before
25

26 Vitae). Among other things, Mr. Ashley was formerly the Chief of the Greater Manchester Police
   Department’s Computer Examination Unit (which at the time was one of the largest forensic
27 examination units in all of Europe). Id. at 1.
     2
28       The number “10630-25-03” refers to the number used by the Taiwanese authorities to identify
     the seized devices. The “BRG” numbers referenced here refer to the numbering used by the
     govternment’s expert Andrew Crain from the Berkeley Research Group (“BRG”).
                                                   3
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 1                          being forensically imaged on February 20, 2017. Id. at 15. MMT employee
                            Yi-Leng Chen accessed the USB device on February 13, 2017 from 11:25 to
 2                          19:25 and reviewed files and folders on the device. Id.
 3                  6.      10630-25-12 (BRG012) Toshiba 500GB drive from HP Laptop: Laptop
                            106030-25-12, purportedly submitted by Huang Shu-han to Taichung
 4                          District Prosecutor’s Office on February 9, 2017, was accessed on February
                            13 and 14, 2017 before being forensically imaged on February 20, 2017. Id.
 5                          at 16-17. MMT employee Yi-Leng Chen accessed the laptop on February
                            13, 2017 from 11:25 to 19:25 and reviewed files and folders on the device.
 6                          Id. at 16.
 7                  7.      106030-25-13 (BRG013) PNY 3.0 128GB USB drive: USB disk 106030-25-
                            13, purportedly submitted by Huang Shu-han to Taichung District
 8                          Prosecutor’s Office on February 9, 2017, was accessed on February 9, 13
                            and 14, 2017 before being forensically imaged on February 20, 2017. Id. at
 9                          17-18. MMT employee Yi-Leng Chen accessed the USB device on
                            February 13, 2017 from 11:25 to 19:25 and reviewed files and folders on the
10                          device. Id.
11                  8.      10630-25-14 (BRG014) Kingston Data Traveler 2.0 64GB USB drive: USB
                            disk 106030-25-14, purportedly submitted by Huang Shu-han to Taichung
12                          District Prosecutor’s Office on February 9, 2017, was accessed on February
                            13 and 14, 2017 before being forensically imaged on February 20, 2017. Id.
13                          at 18-19. MMT employee Yi-Leng Chen accessed the USB drive on
                            February 13, 2017 from 11:25 to 19:25 and reviewed files and folders on the
14                          device. Id.
15                  9.      10630-25-23 (BRG023) Kingston drive from Acer Laptop: Laptop 106030-
                            25-23, seized on February 14, 2017, was accessed later on the same day. Id.
16                          at 19-20. 2,114 files or folders had their Modified, Accessed and Created
                            time and date metadata information updated, including 1,369 files or folders
17                          that were created and 94 files or folders deleted on or after that date. Id. at
                            19. Of the files and folders added, 590 were added to the User Desktop
18                          under the folder NBD, this data originated from the UMC server
                            \\p58f21data\. Id. at 20. The total data size of the added files is 2.1
19                          Gigabytes. Id.
20                  10.     10630-25-24 (BRG024) Transcend 32GB USB drive: USB disk 106030-25-
                            24, seized on February 14, 2017, was accessed after seizure in the late
21                          afternoon on the same day. Id. at 20-21. 2,854 files or folders were created
                            then with a total data size of more than 5.6 Gigabytes, which overwrote data
22                          and space and destroyed any evidence that existed thereon at the time of
                            seizure by the MJIB. Id.
23
            Despite clearly-established best practices requiring that seized devices be forensically imaged
24
     as soon as possible – and most importantly, before accessing any of the devices – the MJIB did not
25
     begin forensically imaging the seized devices until February 18, 2017 – eleven days after it had
26
     conducted the first raid of UMC facilities and at least four days since the last of the 26 devices was
27
     seized. Sloan Decl., Ex. D (Certificates Regarding the Forensic Image) at 12. The MJIB Lab
28
     completed the imaging process on February 21, 2017. Id. One of the devices seized turned out to

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 1 be damaged, therefore 25 devices were imaged. Sloan Decl., Ex. E (Certificate With Respect to

 2 Seized Items) at 4. According to the documents produced by the Taiwanese authorities, the data

 3 produced was saved in a 1 TB portable hard drive marked Exhibit 48. Sloan Decl., Ex. C (Evidence

 4 Transfer Explanation) at 2.

 5          B.     DOJ’s Request for Mutual Legal Assistance and Transfer of Evidentiary Materials
 6          In November 2019, the Taichung District Court purportedly made a copy of the data stored
 7 on Exhibit 48 on another 1 TB portable hard drive marked No. 106030 and provided it to a prosecutor

 8 of the Taichung District Prosecutors Office. Id. at 3.

 9          In December 2019, the Taiwan Ministry of Justice (“MOJ”) received the 7th supplemental
10 request for assistance from the International Affairs Office of the United States Department of Justice

11 (“DOJ”). Id. The MOJ instructed the Taichung District Prosecutors Office to handle the request.

12 Id. Since the exhibits listed in the Taiwan indictment were in the custody of Taichung District court,

13 the Taichung District Prosecutors Office submitted requests to the Taichung District Court for

14 evidence in the court’s custody but the requests were denied. Id.

15          In March 2020, the Taichung District Prosecutors Office reportedly made a copy of the data
16 stored on hard drive No. 106030 on a 1 TB portable hard drive and marked it No. 106030-copy. Id.

17 This hard drive was subsequently delivered to the Department of International and Cross-Strait Legal

18 Affairs of the MOJ. Id. Hard Drive No. 106030 was eventually delivered to the U.S. Sloan Decl.,

19 Ex. E (Certificate With Respect to Seized Items) at 4.

20          C.     Discovery of Alleged Trade Secrets on Forensic Image of Seized Devices
21          By forensically investigating the forensic image of the seized devices, the government claims
22 to have located the alleged trade secrets alleged in the Indictment in this case (see ECF 1, ¶,12(a)-

23 (h)(listing Alleged Trade Secrets Nos. 1-8) on devices 10630-25-03, 10630-25-08, 10630-25-09,

24 10630-25-10, 10630-25-11, 10630-25-13, 10630-25-14, 10630-25-26, and FTW-000158

25 (TUH194).3 Sloan Decl., Ex. F (Andrew Crain Expert Report (“Crain Report”)) at 6, FN 8. Of these

26 nine devices, however, six had been corrupted prior to their imaging, namely, Device 10630-25-03,

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28   3
        FTW-000158 (TUH194) is purportedly JT Ho’s UMC-issued laptop and was not one of the 26
     devices seized in February 2017.
                                               5
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 1 Device 10630-25-09, Device 10630-25-11, Device 10630-25-12, Device 10630-25-13, and Device

 2 10630-25-14. Sloan Decl., Ex. G (Ashley Report) at 8-19.

 3          Specifically, each of the alleged Trade Secrets is claimed to have been found in the following
 4 devices:

 5                 1.      Trade Secret 1 (16 documents)4
 6                         (a)    Device 10630-25-03, containg documents 6 and 10-165;
 7
                           (b)    Device 106030-25-08, containing documents 8 and 96;
 8
                           (c)    Device 106030-25-09, containing documents 27, 38, 6, and 8-16;
 9

10                         (d)    Device 106030-25-10, containing documents 8 and 9;

11                         (e)    Device 106030-25-11, containing documents 2, 4-79, and 10-16;
12
                           (f)    Device 106030-25-12, used to open documents 4-7 and 10-16;
13
                           (g)    Device 106030-25-13, containing documents 2, 3, 6, 8, 9, and 10-16;
14

15
     4
16    According to paragraph 4 of the United States’ Bill of Particulars (Doc. 203) and the Crain
   Report, a total of 16 documents allegedly contain trade secret information designated under Trade
17 Secret 1 in addition to Trade Secrets 2 through 8. Bill of Particulars at 2; Crain at 7-10.
     5
18     According to the Crain Report, documents 6 and 10-16 of Trade Secret 1 refer to the following
   documents: $RZZ1XJM.xls, Rexchip 25nm Flowsummary 0614 Diff (version 1).xls,
19 Rexchip%2025nm%20Flow%20summary%200614%20Diff, Rexchip 25nm Flow summary 0614
   Diff.xls, Rexchip 25nm Flow summary _IMP & RTP.xls, Rexchip 25nm Flow summary 0614
20 CMP.xls, Rexchip 25nm Flow summary 0614 Photo.xls, Rexchip 25nm Flow summary 0614
   wet.xls, Rexchip 25nm Flow summary 0710 TF.xls. Sloan Decl., Ex. 6 (Crain Report) at 9.
21 6
       According to the Crain Report, documents 8 and 9 of Trade Secret 1 refer to R1 F72 1GC
22 Flow0411   no defect.xls and R1 F721GC Flow0411 no defect_1.xls. Sloan Decl., Ex. 6 (Crain
   Report) at 10.
23 7
       According to the Crain Report, document 2 of Trade Secret 1 refers to ★★Elpida 25nm process
24 flow_Modify.ppt.   Sloan Decl., Ex. 6 (Crain Report) at 7.

25
     8
         According to the Crain Report, document 3 of Trade Secret 1 refers to ★★Elpida 25nm process
     flow_peri.ppt. Sloan Decl., Ex. 6 (Crain Report) at 8.
26   9
      According to the Crain Report, document 4 of Trade Secret 1 refers to
27 dram_comparison_workshop_100-110_series.pdf       and document 5 of Trade Secret 1 refers to Elpida
   25nm process flow.pdf. Sloan Decl., Ex. 6 (Crain Report) at 8. Also, according to the Crain Report,
28 document 7 of Trade Secret 1 refers to $R29TV46.xlsb; originally named Template_Tool
   Mapping_Fab11_Fab16 110sD Tool Risk (F16)-0831 discussion (version 1).xlsb, and various
   permutations of this filename. Sloan Decl., Ex. 6 (Crain Report) at 9.
                                                    6
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 1                 (h)    Device 106030-25-14, containing documents 4-7 and 10-16;
 2
                   (i)    Device 106030-25-26, containing documents 6 and 10-16;
 3
                   (j)    Device FTW-000157 (TUH193), used to open documents 6 and 10-
 4                        16;
 5
                   (k)    Device FTW-000158 (TUH194), containing documents 4-7 and 10-
 6                        16.
             2.    Trade Secret 2
 7
                   (a)    Device 10630-25-09;
 8
                   (b)    Device 106030-25-13;
 9
                   (c)    Device 106030-25-26.
10
             3.    Trade Secret 3
11
                   (a)    Device 10630-25-09;
12
                   (b)    Device 106030-25-13;
13
                   (c)    Device 106030-25-26.
14
             4.    Trade Secret 4
15
                   (a)    Device 10630-25-09;
16
                   (b)    Device 106030-25-13;
17
                   (c)    Device 106030-25-26.
18
             5.    Trade Secret 5
19
                   (a)    Device 10630-25-03;
20
                   (b)    Device 10630-25-09;
21
                   (c)    Device 10630-25-12;
22
                   (d)    Device 106030-25-13;
23
                   (e)    Device 106030-25-26.
24
             6.    Trade Secret 6
25
                   (a)    Device 10630-25-03;
26
                   (b)    Device 10630-25-09;
27
                   (c)    Device 10630-25-11;
28
                   (d)    Device 10630-25-12 (used to access);
                                            7
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 1                          (e)    Device 106030-25-13;
 2                          (f)    Device 10630-25-14;
 3                          (g)    Device 106030-25-26;
 4                          (h)    FTW-000158 (TUH194).
 5                  7.      Trade Secret 7
 6                          (a)    Device 10630-25-03;
 7                          (b)    Device 10630-25-09;
 8                          (c)    Device 10630-25-11;
 9                          (d)    Device 10630-25-12 (used to access);
10                          (e)    Device 106030-25-13;
11                          (f)    Device 10630-25-14;
12                          (g)    Device 106030-25-26;
13                          (h)    FTW-000158 (TUH194).
14                  8.      Trade Secret 8
15                          (a)    Device 10630-25-09;
16                          (b)    Device 10630-25-11;
17                          (c)    Device 10630-25-12 (used to access);
18                          (d)    Device 106030-25-13;
19                          (e)    Device 10630-25-14;
20                          (f)    Device 106030-25-26.
21           See Sloan Decl., Ex. F (Crain Report) at 7-13.

22           The government initiated the instant proceeding based largely on the electronic information

23 that was improperly handled by the Taiwan authorities.

24 III.      ARGUMENT

25           The Court should exclude the forensic image of the corrupted devices created by the MJIB

26 Lab because the MJIB’s post-seizure, pre-imaging access of said devices significantly corrupted and

27 contaminated ten of the original devices. As a result, any forensic images generated by the MJIB

28 can no longer reflect the data stored on those devices in “substantially the same condition” as when

                                                      8
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 1 they were seized. Therefore, the government cannot meet its burden to authenticate the forensic

 2 images under Rule 901(a) of the Federal Rules of Evidence. In the alternative, the Court should

 3 exclude said forensic image as a sanction against the government for spoliation of evidence.

 4           Federal Rule of Evidence 104(a) permits the court to determine the admissibility of evidence
 5 before trial. The forensic image may be admitted only if the court is satisfied by evidence sufficient

 6 to support a finding that the forensic image is what the government claims it is. Fed. R. Evid. 901(a).

 7 The key purpose of the authentication requirement is to ensure that only genuine and trustworthy

 8 evidence is considered at trial. See e.g., United States v. Panero, 266 F.3d 939, 951 (9th Cir. 2001)

 9 (holding for evidence to meet authenticity requirement, trial court must be satisfied that it is accurate,

10 authentic, and generally trustworthy). “It is of the utmost importance that, so far as practicalities

11 permit, there should not be a legitimate question about the integrity of physical evidence seized by

12 the government and introduced into evidence against an accused.” United States v. Godoy, 528 F.2d

13 281, 284 (9th Cir. 1975) (per curiam).

14           A.     The Prosecution Has Not Produced Sufficient Evidence For A Reasonable Juror To
                    Determine That The Devices Are In Substantially The Same Condition As When
15                  They Were Seized
16           Although chain of custody10 defects go to the weight of the evidence rather than its
17 admissibility, the government must demonstrate that the devices when imaged were in “substantially

18 the same condition as when the crime was committed.” United States v. Hock Chee Koo, 770 F.

19 Supp. 2d 1115, 1126 (D. Or. 2011) (citing United States v. Dickerson, 873 F.2d 1181, 1185 (9th Cir.

20 1988)). Federal Rule of Evidence 901 requires the government to eliminate not absolutely, but as a

21 matter of reasonable probability the possibility of misidentification and adulteration. Id. (internal

22 citation omitted).

23           In Koo, the district court held that a forensic image of a laptop may not be offered as evidence
24 of what was on the laptop prior to its seizure where after its seizure and before it was imaged, the

25 individual in possession of the laptop “periodically booted it up . . . looked around” “perusing its

26

27   10
      Chain of custody is a component of authentication. See e.g., United States v. Salcido, 506 F.3d
28 729, 733 (9th Cir. 2007) (“[T]he government properly authenticated the videos and images under
   Rule 901 by presenting detailed evidence as to the chain of custody, specifically how the images
   were retrieved from the defendant’s computers.”).
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 1 content over the course of two days,” and according to an expert, “accessed, altered, or deleted” over

 2 1,000 files. 770 F. Supp. 2d at 1125. The court ruled that a forensic image of the hard drive from

 3 an employee’s company-issued laptop was inadmissible to prove its contents at the time it was

 4 confiscated by a supervisor because the supervisor booted the machine, accessed files, and allegedly

 5 altered content before turning over the laptop to the FBI for processing. Id. In reaching its holding,

 6 the court considered the expert’s testimony that the supervisor’s action in turning the computer on,

 7 moving a certain folder to the desktop and installing a data backup software altered the contents and

 8 data configuration of the laptop’s hard drive. Id. at 1125-26. As a result, “[t]here is no way that the

 9 data that resides in that [image] today is the same as it was when it was surrendered by [defendant].”

10 Id. at 1126.

11         Here, the corrupted devices were accessed and their data altered between the time of seizure
12 and the time of imaging. Moreover, a large volume of files was created, altered, or deleted on the

13 following devices:

14                Device 10630-25-03: Almost 35,000 files were added and more than 1,000 files
15                 were deleted. Sloan Decl., Ex. G (Ashley Report) at 11. Of the files and folders
16                 added, 32,688 were copied from the UMC server \\p58f21\Data\NBD on 2/7/2017.
17                 Id. The MJIB activity added 13.38 Gigabytes of data to the drive in total. Id.
18                Device 10630-25-04: 93 files and 5 folders were created. Id.
19                Device 10630-25-09: More than 4,500 files and folders had their metadata details
20                 altered with a number of files being added to or deleted. Id.
21                Device 10630-25-23: 2,114 files or folders had their Modified, Accessed and
22                 Created time and date metadata information updated, including 1,369 files or folders
23                 that were created and 94 files or folders deleted on or after that date. Of the files
24                 and folders added, 590 were added to the User Desktop under the folder NBD, this
25                 data originated from the UMC server \\p58f21data\. The total data size of the added
26                 files is 2.1 Gigabytes. Id. at 19.
27                Device 10630-25-24: 2,854 files or folders were created with a total data size of
28                 more than 5.6 Gigabytes. Id. at 20.

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 1          The evidence thus establishes that Exhibit 48, the forensic image of these devices delivered
 2 to the United States by the Taiwanese authorities and produced to Jinhua in discovery, was not in

 3 “substantially the same condition as when” the devices were originally seized by the MJIB, and these

 4 forensic images should therefore be suppressed. Koo, 770 F. Supp. 2d at 1126 (internal citation

 5 omitted).

 6          The MJIB’s decision to give representatives from Micron, which had a strong motive to alter
 7 information on the electronic devices, access to these devices before they were forensically imaged,

 8 also calls into question the integrity of the data. Koo, 770 F. Supp. 2d at 1125 (giving weight to the

 9 fact that the supervisor had filed a civil lawsuit against defendant the day before he obtained

10 defendant’s laptop). Here, Yi-Leng Chen, an MMT employee, accessed and reviewed files on seven

11 devices, including Device 10630-25-03, Device 10630-25-06, Device 10630-25-09, Device 10630-

12 25-11, Device 10630-25-12, Device 10630-25-13, and Device 10630-25-14. As an MMT employee,

13 Chen had a potential incentive to change information stored on the devices because it was MMT’s

14 and Micron’s filing of a criminal complaint with the Taiwanese authorities that led to the

15 investigation and raids on MMT’s competitor, UMC and its employees.

16          B.     The Taiwan MJIB Failed To Follow Proper Forensic Protocol In Searching The
                   Seized Devices, Thereby Contaminating The Data That They Contain
17
            It is well-established among forensic experts that the forensic image of any electronic devices
18
     should be made immediately after the device is surrendered or seized. See, e.g., United States v.
19
     Rodriguez, No. 16-CR-41G, 2018 WL 947266, at *6 (W.D.N.Y. Feb. 20, 2018) (noting that this is
20
     “a widespread, best practice with electronic discovery”) (citations omitted). As explained by
21
     Jinhua’s computer forensics expert, John Ashley:
22
                   At the earliest opportunity after the seizure of such devices, verified forensic
23                 images should be created on new or previously prepared media, with write
                   blocking devices utilized to prevent any possibility of data alteration or corruption
24                 on the original devices. To avoid alteration or corruption of the evidence, all
                   investigation should be performed on verified copies of the forensic images, not
25                 on the original devices.
26 Sloan Decl. Ex. G (Ashley Report) at 6.

27          Accordingly, because “the extraction of specific data files to some other medium can alter,
28 omit, or even destroy portions of the information contained in the original storage medium,”

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 1 “[p]reservation of the original medium or a complete mirror may … be necessary in order to

 2 safeguard the integrity of evidence that has been lawfully obtained or to authenticate it at trial.”

 3 United States v. Ganias, 824 F.3d 199, 215 (2d Cir. 2016). Moreover, retention of the original

 4 storage medium or its mirror may be necessary to afford criminal defendants the opportunity to

 5 challenge the authenticity or reliability of evidence allegedly retrieved with the help of their own

 6 forensic experts. Id. (citing United States v. Kimoto, 588 F.3d 464, 480 (7th Cir. 2009)).

 7          The necessity to preserve the original medium is also well recognized in scholarly writings
 8 and practice handbooks. See e.g., Eoghan Casey, Digital Evidence and Computer Crime 60 (3d ed.

 9 2011) (“To demonstrate that digital evidence is authentic, it is generally necessary to satisfy the court

10 that it was acquired from a specific computer and/or location, that a complete and accurate copy of

11 digital evidence was acquired, and that it has remained unchanged since it was collected.”); Alan

12 Bush & Lee Winkelman, People Problems in Deals, 34 Corp. Couns. Rev. 125, 148 (2015) (“The

13 starting point for a forensic analysis is to perform a clean mirror image of the departed employee’s

14 hard drive. The image should be taken as soon as possible after any key employee has left and ceased

15 using the computer. . . . Using a computer before it is imaged jeopardizes the investigation. . . . Even

16 poking around the computer for a couple days to investigate for signs of data theft can spoil the

17 forensic trail.”); Manual for Complex Litigation, Fourth §11.446 (2004) (“Accuracy may be impaired

18 by incomplete data entry, mistakes in output instructions, programming errors, damage and

19 contamination of storage media, power outages, and equipment malfunctions. The integrity of data

20 may also be compromised in the course of discovery by improper search and retrieval techniques,

21 data conversion, or mishandling. The proponent of computerized evidence has the burden of laying

22 a proper foundation by establishing its accuracy.”); Daniel B. Garrie, Plugged In: Guidebook to

23 Software and the Law, § 6:5 Seven phases of forensic examination—Phase 2: Evidence acquisition

24 (2020) (“It is important to maintain the integrity of the information on the device, as any change in

25 the information can have implications on the final evidence presented at trial . . . .”).

26          Here, in blatant disregard of these best practices, the Taiwan MJIB “(1) failed to create proper
27 forensic images of the devices immediately after they were seized; (2) performed searches or

28 otherwise accessed the subject devices after they were seized (rather than conducting all

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 1 investigations on the forensic images), thus altering and corrupting this evidence; and (3) in some

 2 cases, added information onto these devices, thus further corrupting the evidence.” Sloan Decl., Ex.

 3 G (Ashley Report) at 7. Therefore, the forensic images of the seized devices must be excluded in

 4 their entirety because the government cannot establish that the subject data is in “substantially the

 5 same condition as when the crime was committed” or when the devices were seized, as required by

 6 Fed. R. Evid. 901. See Koo, 770 F. Supp. 2d at 1126.

 7         C.      The Government and its Taiwanese Counterpart Have Spoliated the Most Critical
                   Evidence for Both the Prosecution and the Defense by Negligently Handling the
 8                 Corrupted Devices Before Creating a Forensic Image.
 9         Alternatively, the Court should exclude the forensic image of the corrupted devices because
10 they have been spoliated by the United States and its Taiwanese counterparts in the MJIB. The Court

11 has the inherent discretionary power to make appropriate evidentiary rulings in response to the

12 spoliation of relevant evidence, including the power to order their exclusion. Glover v. BC Corp., 6

13 F.3d 1318, 1329 (9th Cir. 1993) (citing Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982

14 F.2d 363, 368 (9th Cir. 1992)); see California v. Trombetta, 467 U.S. 479, 482–83, 104 S. Ct. 2528,

15 2530–31 (1984) (considering the suppression of breath-analysis tests results on the ground that the

16 arresting officers had failed to preserve the breath samples used in the test). A court may impose

17 sanctions against a party which is on notice that documents and information in its possession are

18 relevant to and reasonably calculated to lead to the discovery of admissible evidence, but destroys

19 such documents and information. United States v. Maxxam, Inc., No. C-06-07497CWJCS, 2009 WL

20 817264, at *7 (N.D. Cal. Mar. 27, 2009) (citation omitted). Bad faith is not required for spoliation

21 sanctions. United States v. Safeco Ins. Co. of Am., No. 3:14-CV-00190-BLW, 2016 WL 901608, at

22 *7 (D. Idaho Mar. 9, 2016) (citation omitted).

23         To establish a case of spoliation, Jinhua has to prove the following elements by a
24 preponderance of the evidence: (1) the government and its Taiwanese counterpart had an obligation

25 to preserve the corrupted devices when they were altered; (2) the destruction or loss was

26 accompanied by a ‘culpable state of mind;’ and (3) the evidence that was altered was relevant to the

27 defenses of Jinhua. See Singleton v. Kernan, No. 3:16-CV-2462-BAS-NLS, 2018 WL 5761688, at

28 *2 (S.D. Cal. Nov. 1, 2018).

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 1                  1.      The significance of the information stored on the corrupted devices should
                            have been obvious to the Taiwanese MJIB and they have acted in bad faith
 2                          by deviating from the standard practice of immediately creating forensic
                            images of the electronic devices upon seizure.
 3
            The government and the Taiwanese authorities knew they had to preserve the status quo of
 4
     all the seized electronic devices for they are the source of the alleged trade secrets that are the basis
 5
     for both the Taiwanese and U.S. criminal cases. Federal courts have recognized a duty to preserve
 6
     evidence when a party knows or reasonably should know the evidence is relevant and would be
 7
     prejudicial for an opposing party if the evidence is destroyed. Singleton, 2018 WL 5761688, at *3
 8
     (citation omitted). Where a party has some notice that the evidence was potentially relevant to the
 9
     litigation before it was destroyed, such destruction of evidence amounts to willful spoliation. Id.
10
     (citation omitted); Gates Rubber Co. v. Bando Chemical Indus., Ltd., 167 F.R.D. 90, 112 (D. Colo.
11
     1996) (criticizing a party for doing a “file by file” backup of certain device instead of making a
12
     forensic image which resulted in the loss of information and finding that the party “had a duty to
13
     utilize the method which would yield the most complete and accurate results.”).
14
            In addition, although there is no “absolute duty to retain and to preserve all material that
15
     might be of conceivable evidentiary significance in a particular prosecution” on the part of the
16
     government, courts will recognize such a duty if the defendant establishes bad faith by the
17
     government in spoliating potential evidence. See Arizona v. Youngblood, 488 U.S. 51, 58, 109 S.
18
     Ct. 333, 337 (1988). Officers act in bad faith when they deviate from normal practice and display
19
     animus towards the defendant.
20
            Here, the significance and evidentiary value of the seized devices is undeniable—both the
21
     government and the defendants rely on their contents to show or dispute the existence of trade secret
22
     information which forms the basis of this proceeding. The Taiwanese MJIB knew from the moment
23
     it raided UMC’s facilities in February 2017 that it was searching for trade secret information that
24
     purportedly belonged to Micron or MMT, and that this could lead to both civil litigation and criminal
25
     prosecutions in Taiwan and potentially the United States. Sloan Decl., Ex. A (Taiwan Indictment)
26
     at 7, 17. Moreover, the Taiwanese MJIB acted in bad faith by breaching the “widespread, best
27
     practice with electronic discovery” which demanded the creation of a forensic image before
28
     searching seized electronic devices. See California v. Trombetta, 467 U.S. at 488; Rodriguez, 2018
                                                        14
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 1 WL 947266, at *6. Animus towards Jinhua and bad faith were also evident from the fact that the

 2 forensic officers not only used key words provided by MMT, the claimant in the Taiwan Indictment,

 3 to search for data on the seized devices, they actually invited an employee of MMT, who stood to

 4 benefit from charges being brought against UMC and Jinhua, to review the seized devices before

 5 they were forensically imaged. Sloan Decl., Ex. E (Certificate With Respect to Seized Items) at 5,

 6 Ex. E (Ashley Report) at 8-17.

 7          Accordingly, the MJIB and its counterparts in the U.S. DOJ had a duty to preserve the seized
 8 electronic devices and the forensic evidence contained thereon in the same condition as when they

 9 were seized. See Nova Measuring Instruments Ltd. v. Nanometrics, Inc., 417 F. Supp. 2d 1121, 1122

10 (N.D. Cal. 2006) (requiring documents to be produced in their native format with original metadata)

11 (citation omitted); In re Vioxx Prod. Liab. Litig., No. MDL 1657, 2005 WL 756742, at *3 (E.D. La.

12 Feb. 18, 2005) (imposing the duty to preserve metadata information on the parties in pretrial order).

13                  2.      The Taiwanese authorities were at least negligent in deviating from the
                            established best practice of forensically imaging the corrupted devices
14                          immediately after they were seized and delivered to the MJIB Lab.
15          To establish that the party destroyed the evidence with a “culpable state of mind,” it is
16 sufficient to show that such party acted with negligence. Singleton, 2018 WL 5761688, at *4

17 (citation omitted). Although a finding of “bad faith” is not a prerequisite for this element, if shown,

18 bad faith automatically establishes relevance, the third element of the test. Id. at *2, 4. (citing Glover,

19 6 F.3d at 1329). By contract, if the destruction is merely negligent, the party seeking sanctions must

20 prove that the deleted or altered evidence was relevant. Id. at 2 (finding plaintiff has satisfied the

21 burden of showing a culpable state of mind through negligent loss of the documents when defendants

22 do not argue that the record was destroyed pursuant to normal business practices in accordance with

23 the document retention policies).

24          Under the facts presented here, the Taiwanese authorities were at least negligent in not
25 following the “widespread, best practice with electronic discovery,” which requires immediately

26 creating the forensic image of electronic devices after seizure. Rodriguez, 2018 WL 947266, at *6;

27 supra Section III B. The seized devices were immediately delivered to the MJIB Lab, which was

28 capable of forensically imaging the devices, after they were seized. Sloan Decl., Ex. B (Chen

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 1 Description) at 1. Rather than creating a forensic image right away, however, the Taiwanese

 2 authorities ran searches on the corrupted devices, contaminating their data. Sloan Decl., Ex. G

 3 (Ashley Report) at 7. As a result, thousands of new files were created on the corrupted devices, the

 4 metadata of those devices was altered, and “[g]igabytes of electronic data storage space were

 5 overwritten and are no longer available to be investigated.” Sloan Decl., Ex. G (Ashley Report) at

 6 7-21.     Therefore, the government and its Taiwanese counterpart have negligently caused the
 7 spoliation of the corrupted devices.

 8                  3.      The corrupted devices in their untampered original state would have been
                            the most relevant and crucial evidence on the issue of whether alleged trade
 9                          secret information were in the possession of the defendants.
10           Finally, the status quo of the corrupted devices at the time they were seized is arguably the
11 most important evidence in this action. As discussed above, the MJIB’s and the United States’ cases

12 against the defendants rests almost exclusively upon the alleged Trade Secret information found on

13 the corrupted devices.11 Without such evidence, the government’s case will wither. Because the

14 forensic images of these devices have been corrupted, Jinhua is left to work with incomplete and

15 contaminated information.

16           Accordingly, since admitting the forensic image of the corrupted devices would unfairly
17 prejudice Jinhua, the Court should exclude it from the evidence. See Caruso v. Solorio, No.

18 115CV780AWIEPGPC, 2021 WL 3514610, at *9 (E.D. Cal. Aug. 10, 2021) (citing Unigard Sec.

19 Ins. Co., 982 F.2d at 368) (providing that preclusion of evidence is a proper sanction when the

20 admission of spoliated evidence would unfairly prejudice an opposing party).

21 IV.       CONCLUSION
22           For the foregoing reasons, Jinhua moves this Court for an order excluding the forensic image
23 of the corrupted devices from admission into evidence.

24

25

26

27

28   11
        Significantly, however, the Taiwanese authorities did not bring any charges against Jinhua or
     Stephen Chen. See Sloan Decl., Ex. A at 1.
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 1 Dated: December 1, 2021   Respectfully submitted,
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 3

 4                                    By:           /s/ Matthew E. Sloan
                                                   MATTHEW E. SLOAN
 5                                                 Attorneys for Defendant
                                       FUJIAN JINHUA INTEGRATED CIRCUIT CO., LTD.
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